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                                             U.S. Department of Justice
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                                             District of New Jersey


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                                             Direct Dial:--



                                             UNREDACTED BRIEF -
                                             TO BE FILED UNDER SEAL

                                             June 9, 2022

Hon. Claire C. Cecchi
United States District Judge
U.S. District Court for the District of New Jersey
Martin Luther King, Jr. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                   Re:   United States v. John Doe,
                               Crim. No. 22-00399 (CCC)

Dear Judge Cecchi:

       The defendant in the above-captioned criminal case
to by the fictitious name, "John Doe"

                            Please accept this letter brief in lieu of a more formal
brief in support of the Government's motion seeking to have the Court: (1) refer
to the defendant as "John Doe" on ECF; (2) seal all docket entries in this case,
except redacted versions of documents concerning this motion; (3) file redacted
documents concerning this motion publicly on the docket; and (4) file unredacted
documents concerning this motion under seal. For the reasons set forth below,
the Government respectfully submits that the Court should grant the motion.
                                 BACKGROUND
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sealed transcripts of jury voir dire prematurely because it did not provide
advance notice, conduct a hearing, and make factual findings on the record);
United States v. Raffoul, 826 F.2d 218, 223–25 (3d Cir. 1987) (extending Criden
requirements to closure motions made during criminal trials). After giving the
public ample time to respond, the Court also must explain, on the record, its
reasons “for rejecting alternatives to closure.” Criden, 675 F.2d at 554; see also
United States v. Doe, 63 F.3d 121, 128 (2d Cir. 1995).

      The Government is not asking that the Court close the proceedings, as the
Government does not believe that any member or associate of the DTO/MLO is
aware of the federal charges filed against John Doe. However, the Third Circuit
has held that the qualified right of access to judicial proceedings “applies with
equal force to the issue of access to judicial documents.” United States v.
Kushner, 349 F. Supp. 2d 892, 897–901 (D.N.J. 2005) (citing United States v.
Smith, 776 F.2d 1104, 1111–12 (3d Cir. 1985)); see also United States v.
Thomas, 905 F.3d 276, 282 (3d Cir. 2018) (“the First Amendment right of access
applies to plea hearings and, by extension, to documents relating to these
hearings. The right of access, though, is presumptive and not absolute, and it
can be overcome where there is ‘cause shown that outweighs the value of
openness.’” (citations omitted) (quoting United States v. Smith, 123 F.3d 140,
147 (3d Cir. 1997))); Smith, 776 F.2d at 1110–13.

                             SEALING PROCEDURE

      Local Civil Rule 5.2(10)(b) provides this Court with the authority and
procedure to partially seal the corresponding docket. 2 Local Civil Rule 5.2(10)(b)
provides:

             Criminal Documents. Documents subject to sealing must be
             submitted as a Paper Filing, in an envelope clearly marked
             “sealed,” and shall be accompanied by a CD containing the
             document in PDF. A motion to file a document under seal,
             and the order of the Court authorizing the filing of documents
             under seal, may be filed electronically, unless prohibited by
             law. A paper copy of the sealing order must be attached to
             the documents under seal and be delivered to the Clerk.

     Local Civil Rule 5.3 controls protective orders and public access under
ECF. Specifically, Local Civil Rule 5.3 governs “any request by a party or parties

2 Under Local Civil Rule 1.1(a), the local civil rules supplement the Federal Rules
of Criminal Procedure as well as the Federal Rules of Civil Procedure, and apply
in all proceedings to the extent the local rules are not inconsistent with the
federal rules.
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to seal, or otherwise restrict public access to, any materials filed with the Court
or utilized in connection with judicial decision-making.” Local Civil Rule 5.3(a).
The rule also governs any request “by a party or parties to seal, or otherwise
restrict public access to, any judicial proceedings.” Id.

        Local Civil Rule 5.3(c) provides the procedure to be followed concerning a
motion to seal or otherwise restrict public access. In sum and substance, the
procedure is as follows. To start, “[a]ny request by a party, parties or nonparty
to file materials under seal, or otherwise restrict public access to, any materials
or judicial proceedings shall ordinarily be made on notice, by a single,
consolidated motion on behalf of all parties, unless otherwise ordered by the
Court on a case-by-case basis, including any non-party which has produced
materials as to which it seeks to restrict public access. . . . Any motion and
supporting papers to seal or otherwise restrict public access shall be available
for review by the public.”

       Such a motion must include an affidavit that sets forth, with particularity,
the following: “(a) the nature of the materials or proceedings at issue; (b) the
legitimate private or public interest which warrants the relief sought; (c) the
clearly defined and serious injury that would result if the relief sought is not
granted; (d) why a less restrictive alternative to the relief sought is not available;
(e) any prior order sealing the same materials in the pending action; and (f) the
identity of any party or nonparty known to be objecting to the sealing request.”
Local Civil Rule 5.3(c)(3). Proposed findings of fact and conclusions of law must
also be submitted. See Local Civil Rule 5.3(c)(3).

       Local Civil Rule 5.3 also contemplates temporary sealing pending a
decision on a motion to seal. Specifically, Local Civil Rule 5.3(c)(4) provides that
“[a]ny materials deemed confidential by a party or parties and submitted under
temporary sealing subject to a motion to seal or otherwise restrict public access
shall be filed electronically under the designation ‘confidential materials’ and
shall remain sealed until such time as the motion is decided, subject to Local
Civil Rule 72.1(c)(1)(C). When a document to be filed contains both confidential
and non-confidential information, an unredacted version of that document shall
be filed under seal.” Local Civil Rule 5.3(c)(4). Interested parties can move to
intervene pursuant to Fed. R. Civ. P. 24(b) “before the return date of any motion
to seal or otherwise restrict public access.” Local Civil Rule 5.3(c)(5).

      Finally, “[a]ny order or opinion on any motion to seal or otherwise restrict
public access shall include findings on the factors set forth in (c)(3) above as well
as other findings required by law and shall be filed electronically under the
designation ‘order’ or ‘opinion to seal.’” Local Rule 5.3(c)(6).

     Notably, Local Civil Rule 5.3(e) addresses the permissibility of sealing the
docket itself. Under Local Civil Rule 5.3, “[n]o docket shall be sealed. However,
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